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                          IN THE UNITED STATES DISTRICT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


LEON CHAMBERS, on behalf of
himself and all others similarly
situated,


               Plaintiff,
                                                    Civil Action No: 3:19-cv-842

       v.


ANHEUSER-BUSCH EMPLOYEES’
CREDIT UNION d/b/a AMERICAN
EAGLE CREDIT UNION,
Serve: Robert McKay, President and CEO
       Anheuser-Busch Employees’ Credit
       Union
       423 Lynch
       St. Louis, MO 63118

               Defendant.




                            COMPLAINT AND JURY DEMAND



                               CLASS ACTION COMPLAINT

       Plaintiff, Leon Chambers, individually and on behalf of the class of persons preliminarily

defined below, makes the following allegations based upon information and belief, except as to

allegations specifically pertaining to Plaintiff, which are based on personal knowledge.




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                                   NATURE OF THE ACTION

       1.       Plaintiff brings this action on behalf of himself and a class of all similarly situated

consumers against Defendant Anheuser-Busch Employees’ Credit Union d/b/a American Eagle

Credit Union (“AECU”) arising from its routine assessment and collection of multiple $29

Nonsufficient Funds Fees (“NSF Fees”) on a single item, which is deceptive and violative of its

account agreement attached hereto as Exhibit A (the “Account Agreement”), its fee schedule

attached hereto as Exhibit B (the “Fee Schedule”), and its overdraft policy attached hereto as

Exhibit C (the “Overdraft Policy” together with the Agreement and the Fee Schedule, the

“Agreement”).

       2.       AECU misleadingly and deceptively misrepresents its practices with respect to

the assessment and collection of NSF Fees, including in the Agreement. AECU also omits

material facts pertaining to this practice, including in the Agreement.

       3.       This is a civil action seeking monetary damages, restitution, and declaratory and

injunctive relief for breach of contract, breach of the covenant of good faith and fair dealing and

unjust enrichment.

       4.       Defendant’s improper scheme to extract funds from account holders has

victimized Plaintiff and hundreds of other similarly situated consumers. Unless enjoined,

Defendant will continue to engage in these schemes and will continue to cause substantial injury

to its consumers.

                                             PARTIES

       5.       Plaintiff Leon Chambers is an individual and resident of O’Fallon, Illinois.




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         6.      Defendant AECU is a credit union with 29 branches nationwide. AECU’s

headquarters and principal place of business are in St. Louis, Missouri. AECU provides retail

banking services to its members, including Plaintiff and members of the Class. AECU has nearly

$1.8 billion in assets and more than 132,000 members.

                                  JURISDICTION AND VENUE

         7.      This Court has original jurisdiction of this action under the Class Action Fairness

Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this Court has original jurisdiction

because the aggregate claims of the putative class members exceed $5 million, exclusive of

interest and costs, and at least one of the members of the proposed class is a citizen of a different

state than the Defendant.

         8.      Venue is proper in this district pursuant to 28 U.S.C. §1391 because Defendant is

subject to personal jurisdiction here and conducts business in this judicial district, and a

substantial part of the events or omissions giving rise to the claims asserted herein occurred in

this judicial district.

                                     BACKGROUND FACTS

I.       AECU CHARGES MULTIPLE NSF FEES ON THE SAME ITEM IN BREACH OF
         ITS ACCOUNT CONTRACTS.

         9.      The Agreement states that when an AECU member attempts a transaction but

does not have sufficient funds to cover it, AECU may charge a $29 NSF Fee per item. See Ex. A

at 4; Ex. B.

         10.     However, AECU regularly assesses two or more NSF Fees on the same

transaction or item.




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       11.      Mr. Chambers does not dispute AECU’s right to reject an item and charge a single

NSF Fee, but AECU unlawfully maximizes its already profitable NSF Fees by using deceptive

practices that also violate the express terms of the Agreement.

       12.      Specifically, AECU unlawfully assesses multiple NSF Fees on a single ACH item.

       13.      Unbeknownst to consumers, each time AECU reprocesses an ACH transaction or

check for payment after it was initially rejected for insufficient funds, AECU chooses to treat it

as a new and unique item that is subject to yet another NSF Fee. But the Agreement never

discloses that this counterintuitive and deceptive result could be possible and, in fact, suggests

the opposite.

       14.      The Fee Schedule indicates that only a single NSF Fee will be charged per “item,”

however many times that item is reprocessed with no request from the customer to do so. See Ex.

B. An electronic item reprocessed after an initial return for insufficient funds, especially through

no action by the customer, cannot and does not fairly become a new, unique item for fee

assessment purposes.

       15.      This abusive practice is not universal in the financial services industry. Indeed,

major financial institutions like Chase—the largest consumer bank in the country—do not

undertake the practice of charging more than one NSF Fee (also known as a non-sufficient or

insufficient funds fee) on the same item when it is reprocessed. Instead, Chase charges one NSF

Fee even if an item is reprocessed for payment multiple times.

       16.      The Agreement never discloses this practice. To the contrary, the Agreement

indicates AECU will only charge a single NSF Fee per item.




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        i. Plaintiff’s Experience.

       17.    In support of his claim, Mr. Chambers offers an example of NSF Fees that should

not have been assessed against his checking account. As alleged below, AECU: (a) reprocessed a

previously declined item for which it assessed an NSF Fee; and (b) charged another NSF Fee

upon reprocessing.

       18.    On November 27, 2017, AECU assessed Plaintiff a $29 NSF Fee on an item due

to insufficient funds. On November 30, 2017, unbeknownst to Plaintiff and without his request

to AECU to retry the item, AECU processed the same transaction, and again AECU rejected the

transaction due to insufficient funds and charged Plaintiff another $29 NSF Fee.

       19.    On December 1, 2017, AECU rejected payment of an item due to insufficient

funds and charged Plaintiff a $29 NSF Fee. On that same day, unbeknownst to Plaintiff and

without his request to AECU to retry the item, AECU processed the same transaction, and again

AECU rejected the transaction due to insufficient funds and charged Plaintiff another $29 NSF

Fee. On December 7, 2017, AECU processed the same transaction yet again, and again AECU

rejected the transaction due to insufficient funds and charged Plaintiff another $29 NSF Fee. In

total, AECU charged Plaintiff $87 in NSF Fees for processing the same item.

       20.    On June 11, 2018, AECU assessed Plaintiff a $29 NSF Fee on an item due to

insufficient funds. On June 15, 2017, unbeknownst to Plaintiff and without his request to AECU

to retry the item, AECU processed the same transaction, and charged Plaintiff another $29 NSF

Fee.

       21.    On October 29, 2018, AECU assessed Plaintiff a $29 NSF Fee on an item due to

insufficient funds. That same day, unbeknownst to Plaintiff and without his request to AECU to



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retry the item, AECU processed the same transaction, and charged Plaintiff another $29 NSF

Fee.

       22.     On November 2, 2018, AECU assessed Plaintiff a $29 NSF Fee on an item due to

insufficient funds. That same day, unbeknownst to Plaintiff and without his request to AECU to

retry the item, AECU processed the same transaction, and charged Plaintiff another $29 NSF

Fee.

       23.     In total, AECU charged Plaintiff $319 to process five single items.

       24.     Plaintiff understood all of these payments to be a single item or transaction as is

laid out in the Agreement, capable at most of receiving a single NSF Fee (if AECU returned it) or

a single overdraft fee (if AECU paid it).

       25.     AECU itself also understood the transactions to be single transactions, and its

systems categorized them as such. Indeed, on Plaintiff’s account statement, AECU identified

subsequent attempts to debit the transactions as a “RETRY PYMT.”

       ii. The Imposition of Multiple NSF Fees on a Single Item Violates AECU’s Express
           Promises and Representations.

       26.     The Agreement provides the general terms of Mr. Chambers’s relationship with

AECU and makes explicit promises and representations regarding how items will be processed,

as well as when NSF Fees may be assessed.

       27.     The Account Agreement states:

               [i]f another transaction is presented for payment in an amount greater than the
               funds remaining after the deduction of the temporary hold amount, that
               transaction will be a nonsufficient funds (NSF) transaction if we do not pay it or
               an overdraft transaction if we do pay it. Ex. A at 4 (emphasis added).

       28.     The Fee Schedule states:



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              “Returned NSF/UCF check or ACH item: $29/item.” Ex. B (emphasis added).

       29.    The Overdraft Policy states that if the customer’s balance is insufficient on a

given day, AECU “may return the item.” Ex. C at 2 (emphasis added).

       30.    In sum, the Agreement promises that NSF Fees will only be assessed once per

“item” or “transaction” when in fact AECU regularly charges two or more NSF Fees per “item”

or “transaction” even though a customer only requested the payment or transfer once.

       31.    The same “transaction,” most importantly here ACH withdrawals, on an account

cannot conceivably become new transactions each time they are rejected for payment then

reprocessed, especially when—as here—Mr. Chambers took no action to reprocess them.

       32.    Even if AECU reprocesses an instruction for payment, it is still the same

“transaction.” AECU’s reprocessing is simply another attempt to effectuate an accountholder’s

original request for payment.

       33.    The disclosures described above never discuss a circumstance where AECU may

assess multiple NSF Fees for a single check or item that was returned for insufficient funds and

later reprocessed one or more times and returned again.

       34.    In sum, AECU promises that one $29 NSF Fee will be assessed per “transaction”

or “item,” and that term must mean all iterations of the same request for payment. As such,

AECU breached the Agreement when it charged more than one NSF Fee per item.

       35.    Reasonable consumers understand any given authorization for payment to be one,

singular “check or item” as those terms are used in the Agreement.

       36.    Taken together, the representations and omissions identified above convey to

customers that all submissions for payment of the same transaction will be treated as the same



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“transaction” or “item,” which AECU will either authorize (resulting in an overdraft item) or

reject (resulting in a returned item) when it decides there are insufficient funds in the account.

Nowhere does AECU disclose that it will treat each reprocessing of a check or ACH payment as

a separate item, subject to additional fees, nor do AECU customers ever agree to such fee

arrangements.

       37.      Customers reasonably understand, based on the language of the Agreement, that

AECU’s reprocessing of checks or ACH payments are simply additional attempts to complete the

original order or instruction for payment, and as such, will not trigger NSF Fees. In other words,

it is always the same item.

       38.      Banks and credit unions like AECU that employ this abusive practice know how

to plainly and clearly disclose it. Indeed, other banks and credit unions that do engage in this

abusive practice disclose it expressly to their accountholders—something AECU never did.

       39.      For example, First Citizens Bank, a major institution in the Carolinas, engages in

the same abusive practice as AECU, but at least expressly states:

       Because we may charge a service fee for an NSF item each time it is presented,
       we may charge you more than one service fee for any given item. All fees are
       charged during evening posting. When we charge a fee for NSF items, the charge
       reduces the available balance in your account and may put your account into (or
       further into) overdraft.

First Citizens Bank Deposit Agreement, First Citizens Bank,
https://www.firstcitizens.com/personal/banking/deposit-agreement (last visited July 5, 2019)
(emphasis added).

       40.      First Hawaiian Bank engages in the same abusive practices as AECU, but at least

currently discloses it in its online banking agreement, in all capital letters, as follows:

       YOU AGREE THAT MULTIPLE ATTEMPTS MAY BE MADE TO SUBMIT A
       RETURNED ITEM FOR PAYMENT AND THAT MULTIPLE FEES MAY BE


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       CHARGED TO YOU AS A RESULT OF A RETURNED ITEM AND
       RESUBMISSION.

Terms and Conditions of FHB Online Services, First Hawaiian Bank,
https://www.fhb.com/en/assets/File/Home_Banking/FHB_Online/Terms_and_Conditions_of_FH
B_Online_Services_RXP1 .pdf (last visited July 5, 2019) (emphasis added).

       41.     Klein Bank similarly states in its online banking agreement:

       [W]e will charge you an NSF/Overdraft Fee each time: (1) a Bill Payment
       (electronic or check) is submitted to us for payment from your Bill Payment
       Account when, at the time of posting, your Bill Payment Account is overdrawn,
       would be overdrawn if we paid the item (whether or not we in fact pay it) or does
       not have sufficient available funds; or (2) we return, reverse, or decline to pay an
       item for any other reason authorized by the terms and conditions governing your
       Bill Payment Account. We will charge an NSF/Overdraft Fee as provided in this
       section regardless of the number of times an item is submitted or resubmitted to
       us for payment, and regardless of whether we pay the item or return, reverse, or
       decline to pay the bill payment.

       42.     First Financial Bank in Ohio, aware of the commonsense meaning of “item,”

clarifies the meaning of that term to its accountholders:

       Merchants or payees may present an item multiple times for payment if the initial
       or subsequent presentment is rejected due to insufficient funds or other reason
       (representment). Each presentment is considered an item and will be charged
       accordingly.

Special Handling/Electronic Banking Disclosures of Charges, First Financial Bank (Aug.
2018),          https://www.bankatfirst.com/content/dam/first-financial-bank/eBanking_
Disclosure_of_Charges.pdf.

       43.     AECU provides no such disclosures, and in so doing, deceives its accountholders.

   B. The Imposition of Multiple NSF Fees on a Single Item Breaches AECU’s Duty of
      Good Faith and Fair Dealing.

       44.     Pursuant to Illinois law, a duty of good faith and fair dealing is imposed on parties

in a superior position. Banks and credit unions have a superior vantage point when offering

accountholders contracts of adhesion in the form of the Agreement, the terms of which are



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sometimes, as here, not readily discernable to a layperson such as Mr. Chambers and other

accountholders. If a contract is ambiguous, then a duty to act in good faith will be imposed.

Indeed, AECU has a duty to honor transaction requests in a way that is fair to Mr. Chambers and

its other customers and is prohibited from exercising its discretion to pile on ever greater

penalties on the accountholder.

       45.     Here—in the adhesion agreements AECU foisted on Plaintiff and its other

customers—AECU has provided itself numerous discretionary powers affecting customers’

credit union accounts. But instead of exercising that discretion in good faith and consistent with

consumers’ reasonable expectations, AECU abuses that discretion by taking money out of

consumers’ account without their permission and contrary to their reasonable expectations that

they will not be charged multiple fees for the same transaction.

       46.     When AECU charges multiple NSF Fees, AECU does not act in good faith by

defining the meaning of “item” and “transaction” in an unreasonable way that violates common

sense and reasonable consumer expectations. AECU sets the meaning of that term in a way that

directly causes more NSF Fees.

       47.     In addition, AECU acts to the prejudice of Mr. Chambers and its other customers

when it reprocesses an item when it knows a customer’s account lacks funds and then charges

additional NSF Fees on a single item. Further, AECU abuses its superior bargaining power over

accountholders and their accounts and acts contrary to their reasonable expectations under the

Agreement. This is a breach of AECU’s implied duty of good faith and fair dealing.




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       48.     It was bad faith and totally outside of Mr. Chambers’s and other accountholders’

reasonable expectations for AECU to assess more than one NSF Fee for a single ACH

transaction.

       49.     When AECU charges multiple NSF Fees, it uses its discretion to define contract

terms in an unreasonable way that violates common sense and reasonable consumer

expectations. AECU uses its contractual discretion to set the meaning of those terms to choose a

meaning that directly causes more NSF Fees.

       50.     Moreover, AECU provides itself discretion to refuse to reprocess items that are

initially rejected. It abuses that discretion when it repeatedly reprocesses items and charges NSF

Fees each time.

                              CLASS ACTION ALLEGATIONS
       51.     Description of the Class: Plaintiff brings this class action on behalf of himself and

class of persons (“the Class”) defined as follows:

       All consumers who, during the applicable statute of limitations, were charged
       multiple NSF Fees on the same item on an AECU checking account (the
       “National Multiple NSF Class”)


       52.     Excluded from the Class are Defendant’s officers, directors, affiliates, legal

representatives, employees, successors, subsidiaries, and assigns. Also excluded from the Class

is any judge, justice, or judicial officer presiding over this matter and the members of their

immediate families and judicial staff.

       53.     The time period for the Class is the number of years immediately preceding the

date on which this Complaint was filed as allowed by the applicable statute of limitations, going

forward into the future until such time as AECU remedies the conduct complained of herein.



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       54.     Numerosity: The members of the proposed Class are so numerous that individual

joinder of all members is impracticable. The exact number and identities of the members of the

proposed Class are unknown at this time and can be ascertained only through appropriate

discovery. Plaintiff estimates the number of members in the Class to be in the thousands.

       55.     Common Questions of Law and Fact Predominate: There are many questions of

law and fact common to Plaintiff and the Class, and those questions substantially predominate

over any questions that may affect individual Class members. Common questions of law and fact

include:

               A.     Whether AECU charged multiple NSF Fees on a single transaction;

               B.     Whether AECU breached the covenant of good faith and fair dealing;

               C.     Whether AECU unjustly enriched itself at the expense of Plaintiff and the

       members of the Class.

               D.     The proper method or methods by which to measure damages; and

               E.     The declaratory and injunctive relief to which the Class is entitled.

       56.     Typicality: Plaintiff’s claims are typical of the claims of the members of the Class.

Plaintiff and all members of the Class have been similarly affected by AECU’s actions.

       57.     Adequacy of Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class. Plaintiff has retained counsel with substantial experience in

prosecuting complex and consumer class action litigation. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the Class and have the financial

resources to do so.




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        58.     Superiority of Class Action: Plaintiff and the members of the Class suffered, and

will continue to suffer, harm as a result of Defendant’s unlawful and wrongful conduct. A class

action is superior to other available methods for the fair and efficient adjudication of the present

controversy. Individual joinder of all members of the Class is impractical. Even if individual

Class members had the resources to pursue individual litigation, it would be unduly burdensome

to the courts in which the individual litigation would proceed. Individual litigation magnifies the

delay and expense to all parties in the court system of resolving the controversies engendered by

Defendant’s common course of conduct. The class action device allows a single court to provide

the benefits of unitary adjudication, judicial economy, and the fair and equitable handling of all

class members’ claims in a single forum. The conduct of this action as a class action conserves

the resources of the parties and of the judicial system and protects the rights of the Class

members.

        59.     Risk of Inconsistent or Varying Adjudication: Class action treatment is proper, and

this action should be maintained as a class action because the risks of separate actions by

individual members of the Class would create a risk of: (a) inconsistent or varying adjudications

with respect to individual Class members which would establish incompatible standards of

conduct for AECU as the party opposing the Class; and/or (b) adjudications with respect to

individual Class members would, as a practical matter, be dispositive of the interests of other

Class members not party to the adjudication or would substantially impair or impede their ability

to protect their interests.

        60.     Action Generally Applicable to Class as a Whole: AECU, as the party opposing

the Class, has acted or refused to act on grounds generally applicable to the Class, thereby



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making appropriate final injunctive relief or corresponding declaratory relief with respect to the

Class as a whole.

                                              COUNT I
                                    BREACH OF CONTRACT
                                (On behalf of Plaintiff and the Class)
       61.       Plaintiff incorporates the preceding paragraphs of this Complaint as if fully set

forth below.

       62.       Plaintiff and AECU have contracted for bank account deposit, checking, and debit

card services.

       63.       Similarly, members of the Class and AECU have contracted for bank account

deposit, checking, and debit card services.

       64.       AECU misconstrued its true NSF Fee practices and breached the express terms of

its customer contracts.

       65.       No contract provision authorizes AECU to charge multiple NSF Fees on a single

item or transaction.

       66.       AECU breached the terms of its customer contracts by charging multiple NSF

Fees on a single item or transaction.

       67.       Plaintiff and members of the Class have performed all or substantially all of the

obligations imposed on them under AECU’s customer contracts.

       68.       Plaintiff and members of the Class have sustained damages as a result of AECU’s

breach of its customer contracts.




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                                       COUNT II
       BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
                          (On behalf of Plaintiff and the Class)
       69. Plaintiff incorporates the preceding paragraphs of this Complaint as if fully set

forth below.

       70.       Plaintiff has contracted with AECU for bank account deposit, checking, and debit

card services.

       71.       Similarly, members of the Class and AECU have contracted for bank account

deposit, checking, and debit card services.

       72.       Illinois imposes a duty of good faith and fair dealing on contracts between credit

unions and their members because credit unions are inherently in a superior position to their

checking account holders because, from a superior vantage point, they offer customers contracts

of adhesion, often with terms not readily discernible to a layperson.

       73.       AECU abuses its discretion in its own favor—and to the prejudice of Plaintiff and

other customers—by charging multiple NSF Fees on a single item. This is an abuse of the power

that AECU has over Plaintiff and his bank account, is contrary to Plaintiff’s reasonable

expectations under the Agreement, and breaches AECU’s implied covenant to engage in fair

dealing and act in good faith.

       74.       Good faith and fair dealing, in connection with executing contracts and

discharging performance and other duties according to their terms, means preserving the spirit—

not merely the letter—of the bargain. Put differently, the parties to a contract are mutually

obligated to comply with the substance of their contract in addition to its form. Evading the spirit




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of the bargain and abusing the power to specify terms constitute examples of bad faith in the

performance of contracts.

       75.       AECU has breached the covenant of good faith and fair dealing in its customer

contracts through its policies and practices as alleged herein.

       76.       Plaintiff and members of the Class have performed all or substantially all of the

obligations imposed on them under AECU’s customer contracts.

       77.       Plaintiff and members of the Class have sustained damages as a result of AECU’s

breach of the covenant of good faith and fair dealing.

                                            COUNT III
                                     UNJUST ENRICHMENT
                               (On behalf of Plaintiff and the Class)
       78.       Plaintiff incorporates the preceding paragraphs of this Complaint as if fully set

forth herein.

       79.       Plaintiff and AECU have contracted for bank account deposit, checking, and debit

card services.

       80.       Similarly, members of the Class and AECU have contracted for bank account

deposit, checking, and debit card services.

       81.       AECU has unjustly retained a benefit in the form NSF Fees to Plaintiff’s

detriment.

       82.       AECU has retained this benefit through its fee maximization scheme, and such

retention violates fundamental principles of justice, equity, and good conscience.




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       83.     AECU should not be allowed to profit or enrich itself inequitably and unjustly at

the expense of Plaintiff and the members of the Class and should be required to make restitution

to Plaintiff and members of the Class.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff on his own behalf and on behalf of the Class respectfully

request that the Court:

       (a)     Certify this case as a class action, designating Plaintiff as class representative and

               designating the undersigned as Class Counsel;

       (b)     Award Plaintiff and the Class actual, statutory, and punitive damages in an

               amount to be proven at trial;

       (c)     Award Plaintiff and the Class restitution in an amount to be proven at trial;

       (d)     Award Plaintiff and the Class pre- and post- judgment interest in the amount

               permitted by law;

       (e)     Award Plaintiff and the Class attorneys’ fees and costs as permitted by law;

       (f)     Declare AECU’s practices outlined herein to be unlawful and a breach of

               contract;

       (g)     Enjoin AECU from engaging in the practices outlined herein;

       (h)     Grant Plaintiff and the Class a trial by jury; and

       (i)     Grant such other relief as the Court deems just and proper.




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Respectfully submitted this 2nd day of August, 2019.

                                            s/James J. Rosemergy
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                                            Attorneys for Plaintiff and the putative Class




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                                     Certificate of Service


       The undersigned hereby certifies that the foregoing Complaint has been filed by using the
Court’s CM/ECF system on this 2nd day of August, 2019.


                                                   /s/James J. Rosemergy




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